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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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10   BEYOND BLOND PRODUCTIONS,              Case No.: 2:20-cv-05581 DSF (GJSx)
11   LLC, a California limited liability
     company;                               ORDER GRANTING PLAINTIFF’S
12                                          MOTION TO COMPEL FURTHER
13              Plaintiff,                  RESPONSES [DKT 391] AND
          v.                                ORDERING PRODUCTION OF
14
                                            DOCUMENTS RE BEYOND BLOND
15   EDWARD HELDMAN III, an                 PRODUCTIONS, LLC’S SUBPOENA
16   individual; COMEDYMX, INC., a          TO DEFENDANTS’ FORMER
     Nevada corporation; COMEDYMX,          COUNSEL MANDOUR &
17   LLC, a Delaware limited liability      ASSOCIATES, APC
18   company; and DOES 1-10;
19              Defendants.
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     And Related Counterclaims and Third-
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     Party Claims
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 1         The Court has reviewed Plaintiff Beyond Blond Productions, LLC’s Motion to
 2   Compel. [Dkt. 391 and related filings]. Having considered the parties’ motion,
 3   opposition, and reply, and the declarations of counsel and supporting evidence, and all of
 4   the files, records and proceedings herein, and finding good cause therefore,
 5
 6         IT IS HEREBY ORDERED THAT:
 7         (1)          Subject to the narrow carve out set forth in (2), below, and pursuant to
 8                      Fed. R. Civ. P. 34(b)(2) and 37 and this Court’s Order [Dkt. 287], all
 9                      objections made by Mandour & Associates, APC are overruled.
10                      Mandour & Associates, APC, is ordered to provide supplemental
11                      responses without objections and produce all documents itemized
12
                        in Request Nos. 1-12 of Beyond Blond Productions, LLC’s
13
                        subpoena by March 13, 2025.
14
           (2)          Mandour & Associates, APC, need not disclose attorney work product
15
                        that was never communicated, transmitted, or otherwise provided to
16
                        the client-defendant in this action. The attorney work product
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                        privilege is generally held by counsel. In this case, Defendant waived
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                        his right to claim the attorney-client and work product privileges, and
19
20
                        all work product transmitted to him as part of any communication

21                      must be turned over by Mandour & Associates, APC. However,

22                      documents that are “pure” attorney work product, such as internal
23                      notes, that were not made part of any communication to the client
24                      need not be turned over at this time.
25         (3)          With respect to any claims of work product that lead to withholding of
26                      documents, Mandour & Associates APC must produce a privilege log
27                      of such documents. The log must contain sufficient information for
28                      Plaintiff and the Court to determine the detailed subject matter of the



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 1                    work product (i.e., the topic must be specifically described but the
 2                    details and analysis remain confidential) and must additionally contain
 3                    other relevant information such as the date each document was
 4                    prepared and by whom. The log must be provided with a verification
 5
                      that each entry relates to work product that was not communicated to
 6
                      the client who has waived privileges.
 7
          (4)         Mandour & Associates, APC is to produce the work product
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                      privilege log described above, with verification, on or before
 9
                      March 19, 2025.
10
11
          IT IS SO ORDERED.
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13
     Dated: March 7, 2025                       _______________________________
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                                                Magistrate Judge Gail J. Standish
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